Case 2:10-cv-08888-CJB-JCW Document 85360 Filed 04/20/11 Page 1of3

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\ NE 2 Author by Onder of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
\ Copies.of iii rder having also been filed in Civil Actions No. 40-8888 and 10-2771)
moi. 2790RE oy ERE SECTION: J JUDGE CARL BARBIER

Pesca Li Ree era

‘By submitting this document, | am asserting a claim In Complaint and Petition of Triton Asset Leasing GmbH, et
af., No. 10-2771; adopt and incorporate the Master Answor [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 40-2771; and/or intervene into, join and otherwise adopt the Master Gomplaint
[Rec. Doc. $79] for private economic losses {81 Bundie”) filed In MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
filed in MDL No. 2179 (40 md 2179). . .

Last Name | First Name Middle Name/Maiden ix
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Phone Number E-Mail Address
| S046 ~. GOSS - CFB 3B a ee cima Seater masa sas SS TTS -
Adres) Z LF j City / State / Zip

{INDIVIDUAL CLAIM [BUSINESS CLAIM

: Employer Name | Business Name

| Job Tile / Description oe iweobsness OtstCSstsS :

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Last 4 Sts of your Social Security Number Last 4 digits of your Tax ID Number OO
Attorney Name Firm Name

caress ot inne ee ow Gy Sate Zin en a tT

E-Mail Address

Claim filed with BP? YES

If yes, BP Claim No.:

Claim Type (Please check all that apply}:

Damage or destniction to real or personal property Fear of Future Injury and/or Medical Monitoring
Eamings/Proft Loss Loss of Subsistence use of Natural Resources
Personal Injury/Death Removal and/or clean-up costs

Other.

+ This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydres Street, New Orleans, Louisiana 70139, in Civil Action No.
10-8388, While this Direct Fiting Short Form is to be filed in CA No, 10-8888, by prior order of the Court, (Rec. Doc, 246, CA, No. 10-2771 and Rec. Doc. 982 in MOL
2179}, the filing of this form in C.A. No. 10-8888 shall be deemed to be simuttaneously filed In C.A, 10-2771 and MDL 2279. Plaintiff Liaison Counsel, after being
notifled electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

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The filing of this Direct Filing Short Form shalf also serve in fiew of the requirement of a Plaintiff to file « Plaintiff Profite Form.
. hind JB-JCW Document85360 Filed 04/20/11 Page 2 of 3
“irude Sones 301 -G5O-/8 BF

Brief Description:

1. For earings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For caims
Involving real estate/property, include the property location, type of property (residential/commercial}, and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

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/ emp dy “ft Wille Kata te wind shield wr Conamnbrs pd
Lithing Leaks, Wyte LS. shaded Caen tye hat Spall

2. For personal injury claims, describe the injury, how and when it was sustained, and identify ali health care providers and
employers 2008 to present and complete authorization forms for each.

3. For postexplosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

Z

The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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-84/
Palade Jones DOU ee
joase check the box(es) below that you think apply to you and your claime:
n

P
Non-governmental Economic. Loss ai d Property Damage Claims (Bundle B1)

CJ 1. Commerdiat fisherman, shrimper, erahber, or oysterman, or the cwmer and operator of a business involving fishing, shrimping,
crabbing or oystering.

Cl 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employes thereof.

Recreational business owner, operator of worker, including 2 recreational fishing business, commercial guide service, or charter
fishing business who eam their living through the use of the Guif of Mexico.

D3
, Na 4. Commercial business, business owner, operator or worker, including commercial divers, offshore olffield service, repair and
supply, real estate agents, and supply companies, or an employes thereof.

Oo 5. Recreational spert fishermen, recreational diver, beachgoer, or recreational boater.
[] 6. Plant and dock worker, including commercial seafood plant worker, fongshoreman, of ferty operator.

oO 7 Owner, lessor, or lessee of real propert y alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

LD 3. sttel onmer and operator, vacation rental owner and agent, or aiehase who ear ther sng from the tou inary
Os. Bank, financial institution, or retail business that suffered losses ag a result of the spill.

Oo 10. Person who utilizes natural resources for subsistence.

(1) +. Boat captain or crew involved in the Vessels of Opportunity program.

oO 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

C13. Vessel captain or craw who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

(14. — Ctean-up worker or beach personnel involved in dean-up activities along shorelines and intercoastal and intertidal zones.

C45 Resident who lives or works in close proximity to coastal waters.

{]6. Other.

Both BP and the Gulf Coast Claim s Facility (GCCF") are hereby authorized to relea se to the Defend ants in MDL
2179 all information and documents submitted by above-named Piaintiff and information regarding the status of any
payment on the ciaim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 41}, and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

Lot ects

Claimant or Apomey Signature
Vad nick Jones
Print Name

fibo/ 11
Date’ of

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The filing of this Direct Filing Short Form shall alsa serve in lieu of the requirement of @ Plaintiff to file a Plaintt? Profile Form.

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